










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






MERCEDES CARDONA,  

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


HARTS HOMESTEAD, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-11-00060-CV

Appeal from the

County Court at Law No. 5

of El Paso County, Texas 

(TC# 2010-J00112) 






MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This appeal is before the Court on its own motion to determine whether it should be
dismissed.  Because Appellant has not filed a brief, we dismiss the appeal for want of
prosecution.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 31, 2011, the Clerk of this Court notified Appellant that her brief was past due
and that no motion for extension of time had been received.  The Clerk also informed the parties
of the Court’s intent to dismiss the appeal for want of prosecution unless, within ten days of the
notice, a party responded showing grounds to continue the appeal.  To this date, no one has
responded to the Clerk’s letter.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court has the authority to dismiss an appeal for want of prosecution when the
appellants fail to file a brief in the time prescribed and give no reasonable explanation for the
failure to do so.  Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63
(Tex.App.--San Antonio 1998, no pet.).  Accordingly, we dismiss the appeal for want of
prosecution.


July 13, 2011
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.


